                                                                            Case 13-10976-JDW             Doc 82         Filed 10/05/18 Entered 10/05/18 15:12:48                 Desc Main
                                                                                                                         Document     Page 1 of 2
                                                                                                                    United States Bankruptcy Court
                                                                                                                    Northern District of Mississippi

                                                                     IN RE:                                                                                    Case No. 1:13-bk-10976
                                                                     Allen, Laquntolyn                                                                         Chapter 13
                                                                                                             Debtor(s)

                                                                                                                     CERTIFICATE OF MAILING
                                                                     The undersigned hereby certifies that a true copy of the following document(s):
                                                                     Debtor's Certification and Motion for Entry of Chapter 13 Discharge




                                                                     was(were) mailed to all persons in interest at the addresses set forth in the exhibit which is attached hereto, electronically or
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                                                                     by first class mail, postage prepaid, on this 5th day of           October      , 2018 .




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                                                                                                              Document     Page 2 of 2
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